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                                           UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF NEW YORK

            Vasek Pospisil, Nicholas Kyrgios, Anastasia
            Rodionova, Nicole Melichar-Martinez, Saisai Zheng,
            Sorana Cîrstea, John-Patrick Smith, Noah Rubin,
            Aldila Sutjiadi, Varvara Gracheva, Tennys Sandgren,
            and Reilly Opelka, on behalf of themselves and all
            others similarly situated,


            -and-

            The Professional Tennis Players Association,              Case No. 25-cv-2207 (MMG)


                                              Plaintiffs,


                     vs.


            ATP Tour, Inc., WTA Tour, Inc., International
            Tennis Federation Ltd., and International Tennis
            Integrity Agency Ltd.,


                                              Defendants.


                                          DECLARATION OF WAJID MIR SYED

                     I, WAJID MIR SYED, declare, upon personal knowledge and under penalty of perjury,

            pursuant to 28 U.S.C. § 1746, that the following is true and correct:

                     1.      I am an attorney admitted to practice law in the State of Minnesota.

                     2.      I am the General Counsel and Executive Vice President of Player Engagement for

            the Professional Tennis Players Association (“PTPA”).

                     3.      I have been in my role at the PTPA since December 2022.
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                     4.      In my capacity as the PTPA’s General Counsel and Executive Vice President of

            Player Engagement, I have developed resources to improve the medical welfare and career

            prospects of professional tennis players.

                     5.      In my capacity as the PTPA’s General Counsel and Executive Vice President of

            Player Engagement, I regularly correspond with professional tennis players on the ATP Tour and

            the WTA Tour regarding financial, medical, legal, and other professional issues they face.

                     6.      This week, I have spoken with several professional tennis players who are

            participating in the 2025 Miami Open, a tennis tournament on both the ATP Tour and the WTA

            Tour that began on March 17, 2025, and is scheduled to conclude on March 30, 2025.

                     7.      On March 18, 2025, the PTPA and 12 active or retired professional tennis players

            filed a lawsuit in the United States District Court for the Southern District of New York against

            the ATP Tour, Inc. (the “ATP”), the WTA Tour, Inc. (the “WTA”), the International Tennis

            Federation, Ltd. (the “ITF”), and the International Tennis Integrity Agency Ltd. (the “ITIA”). The

            12 active or retired professional tennis players (together with the PTPA, the “Plaintiffs”) filed the

            lawsuit on behalf of a class including themselves and similarly situated professional tennis players.

                     8.      Since the Plaintiffs filed the lawsuit, I have spoken with several active professional

            tennis players currently participating in the Miami Open about inappropriate communications

            between themselves and representatives or agents from the ATP, initiated by the ATP, about the

            players’ participation in the ongoing lawsuit.

                     9.      Specifically, the ATP’s representatives or agents have approached players in locker

            rooms or other areas designated only for players on the grounds of the Miami Open.

                     10.     Several players have reported that the ATP’s representatives or agents have

            approached them at the Miami Open and told them that the legal fees the ATP would incur
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            defending the lawsuit would require the ATP to reduce prize money and pensions the players

            receive from the ATP.

                     11.     Multiple players informed me that representatives from the ATP approached them

            at the Miami Open and pressured them to make a statement that they had never been informed

            about the lawsuit. I know this is not true and that several of these players had already been informed

            of the forthcoming lawsuit before it was filed by the Plaintiffs.

                     12.     On March 19, 2025, a male professional tennis player on the ATP Tour was

            approached by Luben Pampoulov, a member of the ATP’s board of directors, in an area designated

            only for players on the grounds of the Miami Open. Pampoulov provided the player with a pre-

            written document that purported to state that the player was not a member of the PTPA and did

            not support the lawsuit. Pampoulov then handed the player a pen and asked the player to sign the

            proposed statement. When the player asked if he could consult an attorney before signing any

            document placed before him, Pampoulov refused his request. When the player asked if he could

            take a picture of the proposed statement, Pampoulov again refused his request. The player did not

            sign the document, prompting Pampoulov to state that he would speak to the ATP Chairman,

            Andrea Gaudenzi, about this issue. I was informed about this incident on March 19, 2025.

                     13.     The players who have been approached by the ATP’s representatives and agents at

            the Miami Open are fearful of professional or legal retaliation against them by the ATP and do not

            wish to make their experiences public.

                     14.     If the ATP or the other defendants are permitted to continue engaging with

            professional tennis players about the ongoing lawsuit in this manner, without players’ counsel

            present, I believe that many such players will be irrevocably chilled and intimidated from joining

            this action and pursuing their rights to relief as class members.
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                     15.     If the Court wishes to review specific, identifiable information about the players I

            have described above, I am available at the Court’s convenience to disclose such information in

            camera or subject to other procedural safeguards the Court deems appropriate.



            Dated: March 21, 2025
                   Miami, Florida



                                                             Wajid Mir Syed
